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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. CV 21-836 MRW Date April 27, 2021

 

Title
William Burns v. William Coursey et al

 

Present: The Honorable Michael R. Wilner

 

 

Veronica Piper None
Deputy Clerk Court Smart / Reporter
Attorneys Present for Plaintiff: Attorneys Present for Defendant:
None Present None Present
Proceedings: (IN CHAMBERS) ORDER RE: DISMISSAL

Plaintiff filed a notice voluntarily dismissing this case. (Docket # 13.) This action is dismissed.

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